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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

ACADEMY OF ALLERGY & ASTHMA                     §
IN PRIMARY CARE, et al.,                        §
                                                §
              Plaintiffs,                       §
                                                §
v.                                              §   CIVIL NO. 5:14-cv-00035-OLG-JWP
                                                §
AMERICAN ACADEMY OF ALLERGY,                    §
ASTHMA & IMMUNOLOGY, et al.,                    §
                                                §
              Defendants.                       §

DEFENDANTS ALLERGY AND ASTHMA NETWORK/MOTHERS OF ASTHMATICS,
        INC. AND TONYA WINDERS’ DESIGNATION OF EXPERTS

TO:    Plaintiffs, by and through their attorneys of record, Casey Low, Dillon J. Ferguson,
       Benjamin Bernell, Elizabeth Kozlow Maracum, Pilsbury Winthrop Shaw Pittman LLP,
       111 Congress Ave., Suite 400, Austin, Texas 78701.

       Defendants Allergy and Asthma Network/Mothers of Asthmatics, Inc. (“AAN”) and Tonya

Winders (“Winders”) (together, the “AAN Defendants”) file the following designation of experts

pursuant to the Court’s Scheduling Orders (Dkt. No. 208, 246). The AAN Defendants will also

serve on all parties, but not file, the materials required by Federal Rule of Civil Procedure 26

(a)(2)(B). The AAN Defendants reserve the right to supplement these disclosures and designate

additional experts after the conclusion of depositions and as additional facts are learned in

discovery.

       The AAN Defendants designate the following experts:

       1.     Peter R. Kongstvedt, MD, FACP
              P.R. Kongstvedt Company LLC
              PMB 426
              1350 Beverly Road, Ste. 115
              McLean, VA 22101-3633
              (703) 442-8918


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        Dr. Kongstvedt is expected to rebut the opinions of Plaintiffs’ expert, Dr. Peter Boland, as

outlined in his report, which is being separately served on all parties of record. The basis and

reasons for Dr. Kongstvedt’s opinions, and the data and material he used to form those opinions,

are described in his report. Dr. Kongstvedt’s extensive experience and qualifications, including a

list of all publications authored in the previous 10 years, as well as a list of all other cases in which

Dr. Kongstvedt has testified as an expert at trial or by deposition during the previous 4 years, are

also included in his report. Finally, Dr. Kongstvedt’s compensation can be found in the report.

        2.      David M. Eisenstadt, PhD
                Navigant Economics
                1200 19th Street, NW, Suite 700
                202.973.2400

        Dr. Eisenstadt is expected to express the opinions described in his report, which is being

served separately on all counsel of record. The basis and reasons for Dr. Eisenstadt’s opinions,

and the data and material he used to form those opinions, are described in his report. Dr.

Eisenstadt’s experience and qualifications, including a list of all publications authored in the

previous 10 years, as well as a list of all other cases in which Dr. Eisenstadt has testified as an

expert at trial or by deposition during the previous 4 years, are also included in his report. Finally,

Dr. Eisenstadt’s compensation can be found in the report.

        3.      Steven Wiggins
                Charles River Associates
                Galleria Tower, Suite 600
                1716 Briarcrest Drive
                Bryan, Texas 77802-2751
                979-691-0600

        Mr. Wiggins is expected to express the opinions described in his report, which is being

served separately on all counsel of record. The basis and reasons for Mr. Wiggins’s opinions, and

the data and material he used to form those opinions, are described in his report. Mr. Wiggins’s


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experience and qualifications, including a list of all publications authored in the previous 10 years,

as well as a list of all other cases in which Mr. Wiggins has testified as an expert at trial or by

deposition during the previous 4 years, are also included in his report. Finally, Mr. Wiggins’s

compensation can be found in the report.

        4.      Wendy Weiss
                Managing Director, Navigant Consulting, Inc.
                Healthcare and Life Sciences Disputes, Regulatory, Compliance & Investigations
                515 South Flower Street, Suite 3500
                Los Angeles, California 90071
                (213) 670-2773

        Ms. Weiss is expected to express the opinions described in her report, which was

previously served on May 2, 2016. The basis and reasons for Ms. Weiss’s opinions, and the data

and material she used to form those opinions, are described in her report. Ms. Weiss’s experience

and qualifications, including a list of all publications authored in the previous 10 years, as well as

a list of all other cases in which Ms. Weiss has testified as an expert at trial or by deposition during

the previous 4 years, are also included in her report. Finally, Ms. Weiss’s compensation can be

found in the report.

        5.      E. Leon Carter
                Carter Scholer Arnett Hamada Mockler, PLLC
                8150 North Central Expressway, Suite 500
                Dallas, Texas 75206
                214-550-8188

        Mr. Carter may testify regarding the reasonableness of Plaintiffs’ claims for attorneys’ fees

and expenses in connection with this lawsuit. Mr. Carter will testify on the basis of his experience,

education and training, his knowledge of the instant litigation, his knowledge of the market for

legal services in the relevant specialties and geographic area(s), and any evidence which may be

presented in connection with Plaintiff’s claims for attorneys’ fees and expenses. A copy of Mr.

Carter’s current resume was separately served on all counsel of record.

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       This description of each expert’s expected testimony is intended to be general, not

exhaustive. All designated experts may testify in rebuttal to evidence and testimony presented by

Defendants/Counter-Plaintiffs any any of their witnesses. In addition, it is anticipated that some

fact witnesses not retained or specially employed for other purpose of rendering expert testimony

on behalf of the AAN Defendants may give testimony in the nature of an opinion or combination

of fact and opinion testimony in their respective disciplines, and that such testimony would be

based on their education, experience, and training. These witnesses include:

   1. James Sublett, MD
      c/o Rachel Brass
      Gibson Dunn Crutcher
      555 Mission Street
      15 Suite 3000
      San Francisco, Ca 94105-0921
      415-393-8293

       Dr. Sublett is a practicing allergist who has been deposed in this case. He may offer opinion

testimony regarding the methodology employed by UAS in studies to validate its protocol,

including efficacy and safety of the UAS protocol. In particular, it is expected he will testify that

the UAS efficacy study is of questionable validity due to sample size and sampling bias, its

retrospective nature, and failure to control for placebo effect. He will also testify regarding the

reputation and authoritative nature of certain medical journals, as well as the difference between

poster presentations and peer-reviewed journal articles. He may also offer opinion testimony

regarding the dangers associated with home administration of immunotherapy, including that

anaphylaxis is a real and potentially life-threatening risk, and that because of this, immunotherapy

should be administered in a medical setting with access to emergency responsive treatment. He

may also offer opinions regarding the proper training necessary to read and interpret skin test

results and to prescribe immunotherapy. In particular, he will testify that testing and treatment


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must be determined in the context of clinical symptoms which are best evaluated by individuals

with specialized training in allergies and immunology.

   2. Lyndon Mansfield, MD
      c/o Rachel Brass
      Gibson Dunn Crutcher
      555 Mission Street
      15 Suite 3000
      San Francisco, Ca 94105-0921
      415-393-8293

       Dr. Mansfield is a practicing allergist who has been deposed in this case. He may offer

opinion testimony regarding the dangers associated with home administration of immunotherapy,

including that anaphylaxis is a real and potentially life-threatening risk, and that because of this,

immunotherapy should be administered in a medical setting with access to emergency responsive

treatment. He may also offer opinions regarding the UAS protocol and proper training necessary

to read and interpret skin test results and to prescribe immunotherapy. In particular, he will testify

that testing and treatment must be determined in the context of clinical symptoms which are best

evaluated by individuals with specialized training in allergies and immunology.

   3. Stanley Fineman, MD
      c/o Frank M. Lowrey, IV, ESQ.
      Samika Boyd, ESQ.
      11 Bondurant, Mixson & Elmore, LLP
      One Atlantic Center
      1201 West Peachtree Street, N.W.
      Suite 3900
      Atlanta, Georgia 30309
      404-881-4118

       Dr. Fineman is a practicing allergist who has been deposed in this case. He may offer

opinion testimony regarding the dangers associated with home administration of immunotherapy,

including that anaphylaxis is a real and potentially life-threatening risk, and that because of this,

immunotherapy should be administered in a medical setting with access to emergency responsive


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treatment. He may also offer opinions regarding the UAS protocol and proper training necessary

to read and interpret skin test results and to prescribe immunotherapy. In particular, he will testify

that testing and treatment must be determined in the context of clinical symptoms which are best

evaluated by individuals with specialized training in allergies and immunology.

   4. Theodore Freeman, MD
      c/o Catherine L. Kyle
      301 Congress
      21st Floor
      Austin, TX 78701
      512-474-9124

       Dr. Freeman is a practicing allergist who has been deposed in this case. He may offer

opinion testimony regarding the dangers associated with home administration of immunotherapy,

including that anaphylaxis is a real and potentially life-threatening risk, and that because of this,

immunotherapy should be administered in a medical setting with access to emergency responsive

treatment. He may also offer opinions regarding the UAS protocol and proper training necessary

to read and interpret skin test results and to prescribe immunotherapy. In particular, he will testify

that testing and treatment must be determined in the context of clinical symptoms which are best

evaluated by individuals with specialized training in allergies and immunology.

   5. Dr. Dwight Brower
      c/o Andy O’Brien
      Allison Pham
      5525 Reitz Avenue
      Baton Rouge, Louisiana 70809

   Dr. Brower is the medical director for Blue Cross Blue Shield of Louisiana. He is expected to

offer opinions regarding what factors are considered in setting reimbursement policies, including

sources of information properly considered in determining medical benefits coverage and

credentialing requirements. In particular, he is expected to testify that it is reasonable and

appropriate to consider the opinions and input of specialists within the applicable field of medicine,

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as well as practice parameters and peer-reviewed literature relevant to a practice specialty. He will

further testify that it is reasonable and proper to rely on the Practice Parameters promulgated by

the AAAAI and ACAAI, as well as communications with board-certified allergists, in developing

policies with respect to allergy testing and immunotherapy. Dr. Brower will also testify regarding

what sources of information are not credible or reasonable to rely upon, including “poster”

presentations, advocacy articles from organizations such as AANMA, advertising, and

solicitations. Dr. Brower may also testify to the factors considered in determining medical

necessity, and that the UAS protocol fails to meet the medical necessity standard for a variety of

reasons, primarily because the UAS protocol is not 1) in accordance with nationally accepted

practices and standards; and (2) is costlier than services that provide equivalent results. In

particular, the reliance on home immunotherapy and the dosage, frequency of injections, and

length of immunotherapy involved in the UAS protocol is not consistent with medical convention

and national standards. Further, there are legitimate concerns about home immunotherapy and the

risk of an anaphylactic reaction from the patient. Dr. Brower will also testify that UAS provides a

more expensive service that involved weaker injections that were not as efficacious as traditional

treatment.

    6. Dr. Michael Martin
       c/o Janie Fenton
       320 W. Capitol
       Suite 211
       Little Rock, Arkansas 72201

    Dr. Martin is the medical director for BCBS Arkansas. He is expected to offer opinions

regarding what factors are considered in setting reimbursement policy, including the sources of

information properly considered in determining medical benefits coverage and credentialing

requirements. In particular, he is expected to testify that it is reasonable and appropriate to consider


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the opinions and input of specialists within the applicable field of medicine, as well as practice

parameters and peer-reviewed literature relevant to a practice specialty. Dr. Martin is also

expected to testify regarding what sources of information are not credible or reasonable to rely

upon, including “poster” presentations, advocacy articles from organizations such as AANMA,

advertising, and solicitations. Dr. Martin may also testify regarding the relative cost of the UAS

protocol to that typically billed by allergists.

    7. Dr. Barry Lachman
       Mr. Robert M. Cohan
       JACKSON WALKER, LLP
       901 Main Street, Suite 6000
       Dallas, Texas 75202
       214.953.6000

        Dr. Lachman is the medical director for Parkland Community Health Plan. He is expected

to offer opinions regarding what factors are considered in setting reimbursement policy, including

the sources of information properly considered in determining medical benefits coverage and

credentialing requirements. In particular, he is expected to testify that it is reasonable and

appropriate to consider the opinions and input of specialists within the applicable field of medicine,

as well as practice parameters and peer-reviewed literature relevant to a practice specialty. Dr.

Lachman may also testify regarding what sources of information are not credible or reasonable to

rely upon, including advocacy articles from organizations such as AANMA, advertising, and

solicitations. He may offer opinion testimony regarding the dangers associated with home

administration of immunotherapy, including that anaphylaxis is a real and potentially life-

threatening risk, and that because of this, immunotherapy should be administered in a medical

setting with access to emergency responsive treatment. He may also offer opinions regarding the

UAS protocol and proper training necessary to read and interpret skin test results and to prescribe

immunotherapy. In particular, he is expected to testify that testing and treatment must be

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determined in the context of clinical symptoms which are best evaluated by individuals with

specialized training in allergies and immunology.

   8. David Palafox, MD
      c/o Ruben Gabriel Duarte
      Assistant County Attorney
      500 E. San Antonio
      County Courthouse, Room 503
      El Paso, Texas 79901

       Dr. Palafox is the medical director for El Paso First. He is expected to offer opinions

regarding what factors are considered in setting reimbursement policy, including the sources of

information properly considered in making claims determinations and medical reviews of claims

for reimbursement. In particular, he is expected to testify that it is reasonable and appropriate to

consider the opinions and input of specialists within the applicable field of medicine, as well as

practice parameters and peer-reviewed literature relevant to a practice specialty. Dr. Palafox is

also expected to testify regarding the processes used by insurance plans in developing or modifying

coverage policies, including sudden utilization changes and standard medical practice.



Dated: June 8, 2016                                  Respectfully submitted,


                                                     /s/ Linda R. Stahl
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                                                    ATTORNEY FOR DEFENDANTS
                                                    ALLERGY AND ASTHMA NETWORK/
                                                    MOTHERS OF ASTHMATICS, INC. and
                                                    TONYA WINDERS


                               CERTIFICATE OF SERVICE

       I certify that the foregoing document was served upon all counsel of record via the

Court's CM/ECF electronic filing system and via email in accordance with the Federal Rules of

Civil Procedure on June 8, 2016.

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                                                    /s/ Linda R. Stahl
                                                    Linda R. Stahl


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